     Case 1:20-cr-00330-AJN Document 171 Filed 03/23/21 Page 1 of 18




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                    x
UNITED STATES OF AMERICA,

          v.

                                               20 Cr. 330 (AJN)
GHISLAINE MAXWELL,

                     Defendant.


                                        x


       REPLY MEMORANDUM OF GHISLAINE MAXWELL
        IN SUPPORT OF HER THIRD MOTION FOR BAIL



                                  Bobbi C. Sternheim
                                  Law Offices of Bobbi C. Sternheim
                                  33 West 19th Street - 4th Floor
                                  New York, NY 10011
                                  Phone: 212-243-1100


                                  Christian R. Everdell
                                  COHEN & GRESSER LLP
                                  800 Third Avenue
                                  New York, NY 10022
                                  Phone: 212-957-7600


                                  Jeffrey S. Pagliuca
                                  Laura A. Menninger
                                  HADDON, MORGAN & FOREMAN P.C
                                  150 East 10th Avenue
                                  Denver, CO 80203
                                  Phone: 303-831-7364

                                  Attorneys for Ghislaine Maxwell




                                    1
          Case 1:20-cr-00330-AJN Document 171 Filed 03/23/21 Page 2 of 18




                                           Preliminary Statement


         The issue before the Court, as it has been since Ms. Maxwell’s first bail application,

is whether conditions exist that can reasonably assure Ms. Maxwell's appearance at trial.

On her third application (the “Third Bail Motion”) (Dkt.160), Ms. Maxwell has put before

the Court significant enhancements to the already extraordinary bail package previously

presented to the Court in her renewed application for bail (the “Second Bail Motion”)

(Dkt. 97).1 Together, these two motions present a unique and comprehensive bail package

with the strictest of conditions known in any bail application:

             §    $28.5 million in bonds (including a $1M bond co-signed by a security
                  company);

             §    $9.5 million in real property;

             §    $550,000 in cash;

             §    Asset Monitoring by a retired federal district court judge;

             §    Renunciation of British and French citizenship;

             §    Irrevocable written waivers of the right to contest extradition;

             §    Surrender of all travel documents;

             §    Home confinement in New York City;

             §    Electronic GPS monitoring;

             §    In-residence third-party custodian;2


1
 Ms. Maxwell’s present motion (the “Third Bail Motion”) (Dkt.160) incorporates her Memorandum in Support of
Her Renewed Motion for Bail and accompanying exhibits (Dkt. 97, including Attachments 1-24) and her Reply
Memorandum in Support of Her Renewed Motion for Bail (Dkt. 103, including Attachments 1-2) (collectively, the
“Second Bail Motion”).
2
 To assist Ms. Maxwell in making up for lost time preparing for her upcoming trial, one of her lawyers (not trial
counsel) has agreed to reside with her and serve as an additional residential custodian.


                                                         1
           Case 1:20-cr-00330-AJN Document 171 Filed 03/23/21 Page 3 of 18




             §    On-premises 24/7 private security to prevent Ms. Maxwell from leaving the
                  residence without pre-approval by the Court or Pretrial Services and to
                  escort her when authorized to leave the residence;

             §    Visitors to be pre-approved by Pretrial Services;

             §    Strict supervision by Pretrial Services;

             §    Such other terms as the Court deems appropriate.

        The government goes to great lengths to oppose bail arguing technicalities and

offering unfounded innuendo ripped from the tabloid headlines to avoid addressing the

merits of Ms. Maxwell’s exceptional bail package, which puts at risk everything she has,

including the assets of her spouse and the financial security of her family and closest

friends.

The Court Retains Jurisdiction to Decide Matters Related to Bail

        The government asserts that the Court should not consider the present bail motion

because appeal of denial of the Second Bail Motion, not yet briefed, is pending before the

Second Circuit. (Dkt. 165 at 2-3). It is ironic that the government takes this position given that it

created this problem by opposing Ms. Maxwell’s request for an enlargement of time to file a

notice of appeal to the Court’s denial of her Second Bail Motion. Indeed, Ms. Maxwell sought

the extension to avoid this very issue. (Dkt. 109). The government should not now be allowed to

turn that procedural sword into a jurisdictional shield to prevent the Court from considering the

instant motion.

        Divestiture of jurisdiction in the district court while an appeal is pending is not a per se

rule. Rather, it is a judicially crafted rule rooted in the interest of judicial economy that is

designed to avoid confusion or waste of time resulting from having the same issues before two

courts at the same time. Divestiture of jurisdiction, therefore, should not be automatic, but




                                                   2
         Case 1:20-cr-00330-AJN Document 171 Filed 03/23/21 Page 4 of 18




instead guided by concerns of efficiency. Here, it is unclear whether interlocutory appeal of a

district court’s decision regarding bail “divests the court of its control over aspects of the case

involved in the appeal.” United States v. Rodgers, 101 F.3d 247, 251 (2d Cir. 1996). Were it so, a

district court would have no authority to remand or modify bail conditions of a defendant

released while the government appeals the grant of bail. Such a rule would detract from, rather

than promote, judicial economy and would be unworkable in practice.

        Should the Court believe it does not have jurisdiction to decide the present bail

motion, Ms. Maxwell will move the Circuit to withdraw her notice of appeal without

prejudice and thereby remove any theoretical bar to this Court’s jurisdiction over the

present bail motion. Should the Court summarily deny the present motion on the merits,

Ms. Maxwell will file a notice of appeal and request consolidation of both appeals.

Renunciation of Foreign Citizenship is a Valid and Significant Condition of Release

       Relying on a letter from the French Ministry of Justice, the government urges the

Court to give no weight to Ms. Maxwell’s agreement to renounce her foreign citizenship.

But the letter is wrong on the law and should be disregarded. The letter asserts that the loss of

French nationality subsequent to the criminal act which the person is alleged to have committed

does not affect the rule against the extradition of nationals, as nationality must be assessed at the

time of commission of the offense and not at the time of the extradition request. As discussed in

the opinion from William Julié, French legal counsel (attached as Exhibit A), the

government’s assertion is entirely incorrect for the following reasons:

               §   The government’s argument goes against the letter of the law.

               §   The government’s argument goes against the spirit of the law.

               §   The government’s argument is contradicted by precedent and case law.

(Julié Opinion ¶¶ 6-26).


                                                  3
          Case 1:20-cr-00330-AJN Document 171 Filed 03/23/21 Page 5 of 18




         The language of the extradition treaty between the United States and France and the

applicable French statues are clear that anyone seeking to contest extradition on the basis of

French citizenship must be a French national at the time of the extradition request. (Id. ¶ 11).

The provisions on which the government relies were not intended to apply in cases where the

person whose extradition is sought had lost French citizenship. To the contrary, it was

designed to apply to individuals who had acquired French citizenship subsequent to the

commission of the alleged crime “in order to avoid fraudulent nationality applications of

offenders seeking to escape extradition.” (Id. ¶¶ 15-16). If the person is no longer a French

national at the time of the request, the provision does not apply. The government cites no case

where the relevant statute was applied to protect a formerly French national from extradition,

and we have found none ourselves. (Id. ¶¶ 19-21). By contrast, there are numerous examples

of French courts deporting individuals who have lost French nationality following the

commission of an offense. (Id. ¶ 21). Accordingly, Mr. Julié concludes: “[I]t cannot have been

the intention of French lawmakers that Article 696-4 be construed as meaning that a person

who has lost French nationality would still be entitled to be protected from extradition.” (Id.

¶ 26).

         Ms. Maxwell’s agreement to give up both British and French citizenship and waive

any and all right to contest extradition is a formidable challenge to the assertion that Ms.

Maxwell would likely flee if released from custody and goes above and beyond the

“reasonable assurances” that the Bail Reform Act requires to grant bail. While we

maintain that Ms. Maxwell’s written waivers of the right to challenge extradition should

suffice, her willingness to forfeit citizenship birthrights exceeds what is necessary and

profoundly demonstrates her commitment to abide by conditions of release and appear at

trial.


                                                 4
        Case 1:20-cr-00330-AJN Document 171 Filed 03/23/21 Page 6 of 18




Monitoring of Assets is a Valid and Significant Condition of Release

       To address the Court’s concern about Ms. Maxwell’s access to assets, the bail

motion proposed another extremely significant and restrictive bail condition – the

imposition of a monitor to supervise the assets of Ms. Maxwell and her spouse and

approve expenditures. Rather than suggest conditions to satisfy its concerns, the

government urges the Court to summarily reject the proposed monitorship.

       William S. Duffey, Jr., a retired federal district court judge and the former United

States Attorney for the Northern District of Georgia, has agreed to undertake appointment by

the Court as asset monitor. Judge Duffey has extensive experience evaluating and monitoring

funds held in and disbursed from financial accounts. He has agreed to serve by appointment of

the Court in a capacity similar to other trustees and receivers who serve as officers of the Court

and are entrusted, pursuant to court order, with oversight authority to restrain, monitor, and

approve disbursement of assets requiring his signature. Similar to others who have been

appointed by courts to oversee financial matters, Judge Duffey will be compensated at the same

hourly rate billed for his services as an ADR panelist for Federal Arbitration (FedArb).

       The proceeds from the sale of Ms. Maxwell’s London home will be restrained and

monitored by Judge Duffey. As required by court order, documentation concerning the

proceeds of the sale will be provided to Judge Duffey and the funds will be deposited in the

financial account approved by Judge Duffey.

       The government tries to steer the Court’s attention to allegations of Ms. Maxwell’s lack

of candor to dissuade the Court from considering the proposed monitorship as a meaningful

restraint on the assets of Ms. Maxwell and her spouse. As previously stated, despite being

questioned by Pretrial Services following a period of solitary confinement, suicide watch, sleep


                                                 5
          Case 1:20-cr-00330-AJN Document 171 Filed 03/23/21 Page 7 of 18




deprivation, and other conditions adverse to her physical health and mental well-being, Ms.

Maxwell responded appropriately and accurately to questions posed by Pretrial Services which

were restricted to her personal assets. Since then, financial documents - collected and

professionally vetted by a highly respected accounting firm – have been submitted to the

government and the Court and provide full details and supporting documentation concerning

Ms. Maxwell’s personal assets and those jointly held with the spouse. Further, no valid

challenge has been made to those submissions.

        The government challenges the Court by inanely stating that if “the only way to keep

the defendant from using her assets to flee is to take away control of her assets, then she is too

great a risk to release.” (Dkt.165 at 8.) This statement is fundamentally illogical as it

undermines most conditions of release. For example, the same could be said of electronic

monitoring – i.e., if the only way to keep a defendant from fleeing the jurisdiction is to place

him on home confinement with electronic monitoring, then he is too great a flight risk to

release.3 The Court should readily dismiss this frivolous argument. Under the Bail Reform Act,

if there are appropriate conditions for release, bail should be granted. The conditions

collectively proposed in the previous and present bail applications provide ample assurance that

Ms. Maxwell will be present at trial.




3
  Moreover, in an effort to further obfuscate the merits of Ms. Maxwell’s bail application, the government
desperately argues that funds for legal services, presently held in attorney escrow accounts, would be
released and made available to support Ms. Maxwell as a fugitive. To suggest that defense counsel would
become accomplices to a violation of a court order shows utter disrespect for Ms. Maxwell’s defense team.
In particular, New York counsel, who have spent the entirety of their legal careers practicing in this district
and establishing well-respected reputations among the bench and bar, take umbrage at the government’s
callous assertion.



                                                         6
            Case 1:20-cr-00330-AJN Document 171 Filed 03/23/21 Page 8 of 18




Conceded Problems Undermine the Strength of the Government’s Case

           As Ms. Maxwell’s period of detention passes the nine-month mark, the government has

continuously upgraded Ms. Maxwell from a “plain [ ] risk of flight” to a “substantial and

actual risk of flight” to a “serious flight of risk” and now to an “extreme risk of flight.” (Dkt.

165 at 1.) Ironically, her level of flight risk increases as the strength of government’s case

against her diminishes. Ms. Maxwell has challenged the strength of the government’s case

in pretrial motions pending before the Court. Among other things, Ms. Maxwell has

persuasively argued that the Non-Prosecution Agreement entered into by Jeffrey Epstein in

2007, which immunizes “any potential co-conspirators of Epstein,” bars Ms. Maxwell’s

prosecution in this case, and that the counts charging her with alleged sexual abuse are

time-barred.

           The government’s response to Ms. Maxwell’s pretrial motions shines further light

of the weaknesses of its case. For example, the government concedes it cannot establish that

either Ms. Maxwell or Epstein ever caused, or sought to cause, Accuser-34 to travel while she

was a minor or that she was underage when she allegedly engaged in sex acts with Epstein.

(See Opp.162-65 & fn. 57-58.)5 Hence, her allegations cannot support the conspiracies charged

in the Indictment, leaving the government with only two witnesses to prove the charges against

Ms. Maxwell. More importantly, in connection with the government’s response, it

produced documents indicating that government prosecutors misled a federal judge to

obtain evidence against Ms. Maxwell (see, e.g.,. Opp. Ex. 4-7) - a shocking revelation that

undermines the viability of the perjury counts, not to mention the integrity of the entire


4
    Accuser-3 is identified in the Indictment as “Minor Victim-3.”
5
 “Opp.” references are to page numbers of the Government’s Omnibus Memorandum in Opposition to Defendant’s
Pre-Trial Motions, dated February 26, 2021 and not yet publicly filed.


                                                           7
          Case 1:20-cr-00330-AJN Document 171 Filed 03/23/21 Page 9 of 18




prosecution.

        The ongoing review of discovery confirms the lack of evidence in support of the

stale allegations in the indictment. Further, the government’s concessions reveal that it

failed to properly investigate the allegations of at least one of its three core witnesses. The

passage of time continues to reveal information and lack of evidence that undermine the

purported strength of the government’s case.

Bail Must Be Granted

        The detention of Ms. Maxwell on 25-year-old allegations – based on the lowest grade

misdemeanor under New York Penal Law 130.556 – presented in a sensationalized

indictment containing pictures to inflame the public and entice and feed the media frenzy7 –

is unwarranted in the face of the unique bail package before the Court. Relentless media

coverage of Ms. Maxwell, which preceded and impacted the bringing of this prosecution,

has increased significantly since her arrest and detention. Ms. Maxwell’s continued

detention – providing daily fodder for media for the past nine months–continues to severely

undermine her presumption of innocence.

        In the face of this enhanced bail package, the government’s claim that Ms. Maxwell

poses “an extreme risk of flight” rings hollow. The government urges the Court to apply a

standard that defies the law - an absolute guarantee against all risks. See United States v.

Orta, 760, F.2d 887, 888 n.4 (8th Cir. 1985) ("The legal standard required by the [Bail

Reform] Act is one of reasonable assurances, not absolute guarantees."). Under the Bail



6
  Counts Two and Four allege violations of New York Penal Law § 130.55 - sexual abuse in the third degree - a
class B misdemeanor punishable by maximum penalties of three months in jail or one year probation.
7
 What other purpose could be served by the inclusion of a picture of Ms. Maxwell and Jeffrey Epstein taken over a
dozen years after the period of the conspiracy alleged and pictures of three high-value residences?



                                                        8
          Case 1:20-cr-00330-AJN Document 171 Filed 03/23/21 Page 10 of 18




Reform Act, Ms. Maxwell must be released unless there are "no conditions" that would

reasonably assure her presence. Here, the proposed bail package - uniquely strengthened

by Ms. Maxwell’s agreement to renunciate her foreign citizenship and have assets

monitored by a retired federal district court judge - satisfies the actual governing standard.

          To find there are absolutely no conditions to satisfy flight risk of a 59-year-old

woman with no criminal history, who poses no danger to the community, who has made

America her home for the past 30 years, and who has established strong roots and forged

important connections with family and friends who reside here, is incredulous. The

concerns regarding foreign citizenship and restraint of assets have been addressed. To say

that renunciation of foreign citizenship and strict monitoring of assets by a retired federal

district court judge does not suffice when combined with an eight-figure bond secured by

real property and cash and the strictest terms of home confinement and electronic

monitoring strains credulity. The government gains a strategic advantage each day Ms.

Maxwell remains in custody – her case is tried daily in the court of public opinion based

on allegations that are inadmissible in a court of law; the likelihood of seating jurors who

are not implicitly biased against her is being severely jeopardized; her physical strength

and concentration are becoming increasingly impaired by the conditions of her

confinement; and she is being denied a full and fair opportunity to prepare her case for

trial.8


8
  Ms. Maxwell continues to experience difficulty reviewing electronic discovery, including discs that can only be
reviewed on the MDC computer but are not readable on that computer, and thousands of pages still not readable on
either the MDC computer or the laptop. Her receipt of legal mail – including pretrial motions, responses and replies
– are constantly delayed even after tracking information confirms delivery to the MDC. The visiting rooms in the
East Building, where Ms. Maxwell is detained, have been reviewed by an HVAC expert retained by the Federal
Defenders of New York and have been characterized as a “death trap.” The MDC claims it is in the process of
installing HEPA filters, a request long overdue in light of concerns regarding ventilation in legal visiting rooms
raised early in the pandemic. The alternative – to meet in the open-area where social visiting had been conducted-
affords no privacy for confidential attorney-client communication, especially under constant oversight by Ms.


                                                         9
         Case 1:20-cr-00330-AJN Document 171 Filed 03/23/21 Page 11 of 18




                                                  Conclusion

         The Court should grant bail for Ms. Maxwell on the extraordinary conditions

proposed. Should the Court determine that additional conditions are necessary, Ms.

Maxwell is willing to satisfy and abide by those terms as well.

Dated: March 16, 2021
                                                      Respectfully submitted:
                                                      Bobbi C. Sternheim
                                                      Bobbi C. Sternheim
                                                      Law Offices of Bobbi C. Sternheim
                                                      33 West 19th Street - 4th Floor
                                                      New York, NY 10011
                                                      Phone: 212-243-1100

                                                      Christian R. Everdell
                                                      COHEN & GRESSER LLP
                                                      800 Third Avenue
                                                      New York, NY 10022
                                                      Phone: 212-957-7600

                                                      Jeffrey S. Pagliuca
                                                      Laura A. Menninger
                                                      HADDON, MORGAN & FOREMAN P.C
                                                      150 East 10th Avenue
                                                      Denver, CO 80203
                                                      Phone: 303-831-7364

                                                      Attorneys for Ghislaine Maxwell




Maxwell’s guards and a hand-held camera focused on both Ms. Maxwell and counsel. Further, confidential
attorney-client communications conducted during video teleconferencing (VTC) are now further compromised by
the repositioning of a camera with sensitive audio recording, putting a chill on privileged communication. During
VTC conferences, counsel can hear conversation among the guards, so it is likely that the guards, who seem to be
writing during those sessions, are able to hear discussions between Ms. Maxwell and counsel. Last night, prior to the
filing of defense replies to Ms. Maxwell’s pretrial motions, the MDC refused her request to speak with her lawyers
to provide information bearing on those filings,. Such denial violates the BOP’s Program Statement pertaining to
providing legal calls upon request of pretrial inmates. See https://www.bop.gov/policy/progstat/7331_004.pdf at
par. 24(c). The chronic difficulties related to Ms. Maxwell’s review of the millions of documents of electronic
discovery are continuing to negatively impact her ability to prepare for a trial that is only a few months away.


                                                         10
Case 1:20-cr-00330-AJN Document 171 Filed 03/23/21 Page 12 of 18




                      EXHIBIT A
  Case 1:20-cr-00330-AJN Document 171 Filed 03/23/21 Page 13 of 18
                                  William JULIÉ
                      avocat à la cour – attorney at law




                                                                            March 14th 2021


Re: Additional opinion on the extradition of nationals by the French government


1. This memorandum was written pursuant to a request from Olivier Laude, a partner at
   the French firm Laude Esquier Champey acting on behalf of Cohen & Gresser LLP as
   counsel for Ms Ghislaine Maxwell. The request was made in the context of ongoing bail
   proceedings involving Ms Maxwell in the United States of America (hereafter “USA”),
   where Ms Maxwell is being detained pre-trial on charges relating to her alleged role in
   sexual activities involving Jeffrey Epstein from 1994 to 1997.

2. In a previous opinion, I have outlined why French authorities could decide to execute
   an extradition request against a French citizen under the Extradition Treaty between the
   USA and France, without violating any superior norm of French and international law.

3. As I understand the defendant’s French nationality continues to be regarded by the Court
   as a bar to her release pending trial, I am informed that the defendant is prepared to
   renounce French nationality under Article 23-4 of the French Civil Code, if the Court
   so requires.

4. In a letter to the Department of Justice dated 9 March 2021, the Head of the International
   Criminal Assistance Bureau of the French Ministry of Justice, Mr Philippe Jaeglé,
   asserts that the loss of French nationality after the criminal act which the person is
   alleged to have committed does not affect the rule against the extradition of nationals,
   as nationality must be assessed at the time of commission of the offence and not at the
   time of the extradition request.

5. This report was written to provide a counter opinion on this issue, in support of the
   proposition that the French government would be legally entitled to execute an
   extradition request against an individual who is no longer a French national.

6. The Ministry of Justice’s assertion must be regarded as incorrect for three reasons:

       (i) It is not supported by the letter of the law;

                                                                                           1
    51, rue Ampère - 75017 paris - tél. 01 88 33 51 80 – fax. 01 88 33 51 81
              wj@wjavocats.com - www.wjavocats.com - palais C1652
       Case 1:20-cr-00330-AJN Document 171 Filed 03/23/21 Page 14 of 18
                                          William JULIÉ
                            avocat à la cour – attorney at law


            (ii) Nor is it supported by the spirit of the law;
            (iii) Case law and precedents in fact suggest the opposite.


    7. First, the Ministry’s interpretation goes against the letter of the law.


    8. American extradition requests are principally governed by the Extradition Treaty
        between the USA and France of 23 April 1996 (“the Treaty”) and the French Code of
        Criminal Procedure for matters not dealt with under the Treaty. 1

    9. Article 3(1) of the Treaty provides:


            “There is no obligation upon the Requested State to grant the extradition of a person
            who is a national of the Requested State, but the executive authority of the United
            States shall have the power to surrender a national of the United States if, in its
            discretion, it deems it proper to do so. The nationality of the person sought shall be
            the nationality of that person at the time the offense was committed”.


    10. Article 696-4 of the French Code of Criminal Procedure provides for the same rule,
        under similar wording:


        “Extradition shall not be granted:
        1° When the person claimed has French nationality, the latter being assessed at the time
        of the offense for which extradition is requested”


    11. Under a literal reading of these provisions, the nationality protection only applies where
        French authorities are faced with an extradition request against a person who is a French
        national at the time of the extradition request. Both the Treaty and the French Code of


1
 Other relevant international treaties include: the Agreement on Extradition between the United States of
America and the European Union signed in Washington on 25 June 2003, and the Instrument Amending the
Treaty of 23 April 1996 between the United States of America and France signed in the Hague on 30 September
2004.

                                                                                                          2
         51, rue Ampère - 75017 paris - tél. 01 88 33 51 80 – fax. 01 88 33 51 81
                   wj@wjavocats.com - www.wjavocats.com - palais C1652
  Case 1:20-cr-00330-AJN Document 171 Filed 03/23/21 Page 15 of 18
                                  William JULIÉ
                      avocat à la cour – attorney at law


   Criminal Procedure use the present tense (“a person who is a national of the Requested
   State”/”the person claimed has French nationality”), which can only mean that the
   extradition of a person is denied when that person is in fact a French national. If the
   person is no longer a French national at the time of the request, the provision does not
   apply.


12. Had these provisions been intended to apply in cases where the person has lost French
   nationality subsequent to the commission of the alleged crime, the texts would have
   expressly stated so or would at least have used both the present and the past tense to
   qualify the national affiliation of the requested person.


13. Furthermore, it is a well-known principle of legal interpretation across all jurisdictions
   that exceptions to rules must be construed strictly. The nationality ban being an
   exception to extradition, it must be interpreted in a restrictive manner and its application
   to a person who is no longer a French national must be rejected.


14. Second, the Ministry’s interpretation goes against the spirit of the law


15. The literal reading of Article 3 of the Treaty and Article 696-4 of the French Code of
   Criminal Procedure is further supported by the fact that these provisions were in fact
   not intended to apply in cases where the person sought has lost French citizenship, but
   only in cases where that person has acquired French citizenship subsequent to the
   commission of the alleged crime.

16. In other words, the rule that “nationality shall be assessed at the time of the offence for
   which extradition is requested” seeks to deny the extension of the benefit of French
   nationality to persons who have acquired French nationality after committing an
   offence, in order to avoid fraudulent nationality applications of offenders seeking to
   escape extradition.




                                                                                             3
    51, rue Ampère - 75017 paris - tél. 01 88 33 51 80 – fax. 01 88 33 51 81
              wj@wjavocats.com - www.wjavocats.com - palais C1652
  Case 1:20-cr-00330-AJN Document 171 Filed 03/23/21 Page 16 of 18
                                  William JULIÉ
                      avocat à la cour – attorney at law


17. This concern over opportunistic nationality applications is precisely the justification of
   the rule mentioned in academic literature (see for example Répertoire de droit pénal et
   de procédure pénale Extradition Pén. – Conditions de fond de l'extradition –
   Delphine Brach-Thiel–October 2018, §59).


18. Third, the French Ministry of Justice’s interpretation is contradicted by precedents
   and case law


19. The French Ministry of Justice’s interpretation finds no support in case law, as no case
   can be found where Article 696-4 of the French Code of Criminal Procedure was applied
   to protect a formerly French national from extradition.


20. Instead, precedents exist in which Article 696-4,1° of the French Code of Criminal
   Procedure was relied on by French authorities to execute an extradition request against
   an individual who had acquired French nationality after committing an offence, which
   is the natural use of this provision (for example, a ruling issued by the Criminal Chamber
   of the French Cour de cassation on 4 January 2006, n°05-86.258).

21. Although we have found no precedent where French authorities were faced with the
   extradition of a person who had lost French nationality, we have found cases where
   French authorities were faced with the deportation of a person who had lost French
   nationality. Both extradition and deportation allow for the removal of a person from
   French territory by the police and its surrender to the authorities of a third State, with
   the consent and cooperation of the authorities of that State.

22. The European Court of Human Rights (the “ECtHR”) treats extradition and deportation
   analogously. More specifically, the ECtHR considers that the same human rights bars
   apply to all types of removal of a person from the territory of a State party (“the Court
   considers that the question whether there is a real risk of treatment contrary to Article
   3 in another State cannot depend on the legal basis for removal to that State. The
   Court’s own case-law has shown that, in practice, there may be little difference between

                                                                                            4
    51, rue Ampère - 75017 paris - tél. 01 88 33 51 80 – fax. 01 88 33 51 81
              wj@wjavocats.com - www.wjavocats.com - palais C1652
       Case 1:20-cr-00330-AJN Document 171 Filed 03/23/21 Page 17 of 18
                                            William JULIÉ
                              avocat à la cour – attorney at law


         extradition and other removals”, ECtHR 12 April 2012, Babar Ahmad and Others v.
         the United Kingdom, no. 24027/07, §168).

    23. France has no difficulty with deporting individuals who have lost French nationality by
         application of Article 25 of the Civil Code, which enumerates the list of crimes that may
         give rise to a deprivation of citizenship. For example, a dual French-Algerian citizen
         named Djamel Beghal was recently deported to Algeria after he was convicted of
         terrorist offences and subsequently deprived of his French nationality2.

    24. While in custody in France, Djamel Beghal was also convicted in absentia to a term of
         prison in Algeria, but his extradition initially seemed impossible, not because he used
         to be a French citizen, but because the case law of the ECtHR specifically prohibits
         State parties from deporting persons deprived of their nationality to the State of which
         they remain a national, when there is a risk of torture or degrading treatment3. Beghal
         was eventually deported to Algeria where he was arrested upon landing for the purpose
         of standing trial. In this case, the French government’s decision to deprive Djamel
         Beghal of his French nationality was clearly intended to allow for his removal from
         France, whether through extradition or deportation, as both means of removal were
         conceivable at the time. Had there not been a risk of violation of the ECHR at the time
         of the Algerian extradition request, he may well have been extradited as opposed to
         deported a few years later, when that risk was eliminated.


    25. In any case, the deportation of formerly French citizens shows that the loss of French
         nationality prevents any retroactive application of domestic provisions which are
         intended to protect French nationals, be it from deportation or extradition.




2
  https://www.lemonde.fr/societe/article/2018/07/16/incertitude-sur-le-sort-de-l-islamiste-djamel-beghal-qui-sort-
de-prison-lundi_5332053_3224.html
3
  ECtHR 3 December 2009, Daoudi v. France, application no. 19576/08.
or 4 sept. 2014, Trabelsi c. Belgique, req. n° 140/10, 17 janv. 2012, Othman c. Royaume-Uni, req. n° 8139/09. For
more details, http://www.revuedlf.com/cedh/eloignement-des-etrangers-terroristes-et-article-3-de-la-convention-
europeenne-des-droits-de-lhomme/
                                                                                                                5
         51, rue Ampère - 75017 paris - tél. 01 88 33 51 80 – fax. 01 88 33 51 81
                   wj@wjavocats.com - www.wjavocats.com - palais C1652
  Case 1:20-cr-00330-AJN Document 171 Filed 03/23/21 Page 18 of 18
                               William JULIÉ
                    avocat à la cour – attorney at law


26. In these circumstances, it cannot have been the intention of French lawmakers that
   Article 696-4 of the French Code of Criminal Procedure be construed as meaning that
   a person who has lost French nationality would still be entitled to be protected from
   extradition since the French government has on several occasions deported to third
   countries individuals who had been deprived of their French nationality following the
   commission of criminal offences.




                                                             William JULIÉ
                                                            Avocat à la Cour




                                                                                      6
    51, rue Ampère - 75017 paris - tél. 01 88 33 51 80 – fax. 01 88 33 51 81
              wj@wjavocats.com - www.wjavocats.com - palais C1652
